             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )
                                     )
           v.                        ) Criminal Action No.
                                     ) 10-00320-16-CR-W-DGK
FRANK M. ALVAREZ,                    )
                                     )
                 Defendant.          )

                   REPORT AND RECOMMENDATION TO DENY
             DEFENDANT’S MOTION TO DISMISS THE INDICTMENT

     Before the court is defendant’s motion to dismiss the

indictment on the ground that he has been denied due process of

law and equal protection.      I find that the indictment is

sufficient and that defendant has raised no grounds mandating

dismissal.    Therefore, defendant’s motion to dismiss should be

denied.

I.   BACKGROUND

     On November 18, 2010, an indictment was returned charging

defendant with conspiracy to distribute cocaine, crack cocaine,

and marijuana, in violation of 21 U.S.C. §§ 841(a)(12), (b)(1)(A)

and (B) and 846, and one count of conspiracy to commit money

laundering, in violation of 18 U.S.C. § 1956(a)(1)(A)(i) and (h).

Defendant filed the instant motion to dismiss the indictment on

May 20, 2011 (document number 230).




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      On June 2, 2011, the government filed a response to

defendant’s motion (document number 242).          The government argues

that the indictment is sufficient and that defendant appears to

be raising frivolous “arguments raised by misguided criminals who

are often referred to as ‘sovereign citizens’ or ‘redemption

theory’ defendants.”

II.   SUFFICIENCY OF THE INDICTMENT

      It is well established that an indictment is sufficient if

it (1) contains the elements of the offense charged and fairly

informs the defendant of the charge against which he must defend,

and (2) enables him to plead an acquittal or conviction in bar of

future prosecutions.      Hamling v. United States, 418 U.S. 87, 117

(1974); United States v. McMahan, 744 F.2d 647, 650 (8th Cir.

1984).   The sufficiency of the indictment is to be judged by

practical, and not by technical, considerations.               Hayes v. United

States, 296 F.2d 657, 667 (8th Cir. 1961), cert. denied, 369 U.S.

867 (1962).    An indictment ordinarily is held sufficient unless

it is so defective that by no reasonable construction can it be

said to charge the offense for which the defendant was convicted.

United States v. Young, 618 F.2d 1281, 1286 (8th Cir.), cert.

denied, 449 U.S. 844 (1980); United States v. Ivers, 512 F.2d

121, 123 (8th Cir. 1975).




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     It is generally sufficient that the indictment sets forth

the offense in the words of the statute itself, so long as those

words fully, directly, and expressly, without uncertainty or

ambiguity, set forth all the elements necessary to constitute the

offense intended to be punished.        Hamling v. United States, 418

U.S. at 117; United States v. McKnight, 799 F.2d 443, 445 (8th

Cir. 1986); United States v. Opsta, 659 F.2d 848, 850 (8th Cir.

1981).   However, the indictment does not have to follow the exact

wording of the statute.      United States v. Ivers, 512 F.2d at 123.

     Counts one and two clearly track the language of 21 U.S.C. §

841 and 846 and 18 U.S.C. § 1956, and those statutes fully set

forth all the elements necessary to constitute the offenses

intended to be punished.     In addition, counts one and two provide

the names of the co-conspirators, the type and quantity of drugs,

the dates of the conspiracies, the specified unlawful activity,

and the manner of promoting unlawful activity.

     Because both counts of the indictment contain the elements

of the offenses charged and enable defendant to plead an

acquittal or conviction in bar of future prosecutions, the

indictment is sufficient.

III. DEFENDANT’S SPECIFIC COMPLAINTS

     Defendant complains that he is being deprived of due process

of law and equal protection under the law.        Defendant cites the

14th Amendment in support of these Constitutional challenges.


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However, the 14th Amendment to the United States Constitution

does not apply to the federal government.        The applicable portion

of the 14th Amendment states that “[n]o State shall make or

enforce any law which shall abridge the privileges or immunities

of citizens of the United States; nor shall any State deprive any

person of life, liberty, or property, without due process of law;

nor deny to any person within its jurisdiction the equal

protection of the laws.”     Through selective incorporation, the

courts have held that the 14th Amendment provides that virtually

all of the procedural protections in the first eight amendments

apply to the states in the same way in which they restrict

federal criminal proceedings.     Albright v. Oliver, 510 U.S. 266,

272-273 (1994).

     Defendant does not explain how his due process or equal

protection rights have been violated, and he cites state law

cases in support of his unintelligible arguments.            He instead

rambles on, often nonsensically, in the same manner many other

pro se defendants have done after having read pleadings

supposedly used successfully by others in the same position.

Defendant argues, as do many others, that this court lacks

subject matter jurisdiction unless a complaint is the initial

charging document.   Defendant then attaches as an exhibit a copy

of a complaint issued in United States v. Adam McGrone, 10-

0156JTM-01, with that defendant’s name scratched out.


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     Defendant’s motions for production of the complaint in his

case have been denied on the ground that his case began with a

grand jury indictment.       The Constitution guarantees each accused

the right to a grand jury indictment; it does not guarantee a

criminal complaint.    A criminal complaint is a document which is

found by one person (the issuing judge) to be supported by

probable cause.   It does nothing but bind the accused over for

grand jury action.    If the grand jury fails to indict within the

time allowed by law, the accused is set free.          In this case,

defendant was charged by indictment after a grand jury found

probable cause to believe that these crimes were committed and

that defendant committed them.      The lack of a criminal complaint

is completely irrelevant in a case beginning with a grand jury

indictment.

     Defendant has been advised numerous times in the past to

reconsider his decision to represent himself.          I will once again

encourage defendant to reconsider and to allow his stand-by

counsel to take over his defense.        Defendant’s reliance on

whatever source he is using is clearly not beneficial to his

future -- defendant does not understand the law and therefore

does not understand how irrelevant and absurd his pleadings are.

The Ninth Circuit Court of Appeals in United States v. Johnson,

610 F.3d 1138, 1140 (9th Cir. 2010), had a similar case and

commented as follows:


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      Defendants Kurt F. Johnson and Dale Scott Heineman were
      indicted for conspiracy and multiple counts of mail fraud
      related to their illegitimate debt-elimination business.
      They were adamant in their desire to represent themselves
      and assert an absurd legal theory wrapped up in Uniform
      Commercial Code gibberish. . . . [T]he defendants were
      extensively advised of their right to counsel and the
      disadvantages of self-representation. The judge practically
      begged them to accept counsel but they refused. The
      district court found that the defendants were competent to
      represent themselves and that such was their constitutional
      right. . . . [The defendants were convicted.] The record
      clearly shows that the defendants are fools, but that is not
      the same as being incompetent. . . . [T]hey had the right
      to represent themselves and go down in flames if they
      wished, a right the district court was required to respect.
      There was no legal or medical basis to foist a lawyer on
      them against their will.

      Defendant’s reliance on state cases from North Dakota and

Wyoming, his obsession with a complaint that does not exist, and

the nonsensical nature of his arguments leave little doubt that

his defense is suffering from his self-representation.

IV.   CONCLUSION

      Because counts one and two contain sufficient information to

apprise defendant of the nature of the charges and to enable him

to plead an acquittal or conviction in bar of future

prosecutions, it is

      RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

denying defendant’s motion to dismiss the indictment for a

violation of due process.

      Defendant is advised that, pursuant to 28 U.S.C. §

636(b)(1), he has ten days from the date of receipt of a copy of

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this report and recommendation to file and serve specific

objections.



                                 ROBERT E. LARSEN
                                 United States Magistrate Judge

Kansas City, Missouri
August 22, 2011




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